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IN THE UNITED sTATEs DISTRICT CoURT m BY(\\£F-/-- °-c'
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coMMISSIoN, ) WlD E}F §‘4- eli 953
)
Plaintiff, )
)
v. ) No. 00-2923 Ma/A
)
AUTozoNE, INc., )
)
Defendant. )

 

ORDER DEN'YING DEFENDANT’S MOTION TO STRIKE ADDITIONAL CLAIMANTS

 

This case arises from alleged discriminatory employment
practices by defendant AutoZone, Inc. (“AutoZone”). Plaintiff Equal
Employment Opportunityl Commission (“EEOC”) brings the case on
behalf of more than 100 individual olaimants. Before the Court is
AutoZone's “Motion to Strike Additional Claimants,” filed on June
9, 2005. EEOC filed a response on June 21, 2005. AutoZone filed a
reply on June 29, 2005.

AutoZone asserts that, on May 18, 2005, 13 days before the May
31, 2005, cut-off date for discovery in this case, the EEOC faxed
AutoZone a letter “seeking to add 12 new claimants and to reassert
a claim for Broderick Parr, who had been previously withdrawn by
the EEOC.” (Def.’s Mem. in Supp. at 2.) AutoZone asks that the
court strike those 13 claimants. In support of its position,

AutoZone argues that “it is ludicrous that the [EEOC] would seek to

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add these individuals to the case at this very late date, a date
which does not allow AutoZone sufficient opportunity to take the
discovery, prepare the pleadings necessary for a motion for summary
judgment, and/or prepare to try those claims. There can be no
excuse for the [EEOC's] failure to identify' these individuals
before the stroke of midnight and AutoZone will be greatly
prejudiced if the EEOC is allowed to maintain claims on behalf of
these individuals.”1 (Id.)

The EEOC states that the disclosure of the 13 additional
claimants on May 18, 2005, was done to satisfy its ongoing duty to
supplement discovery under Fed R. Civ. P. 26(e). (Pl.'s Resp. at
3.) According to the EEOC, identifying claimants in this case has
been an “arduous task” because of the “voluminous” data involved,
and because the data are “riddled with discrepancies.” (Id. at 2-
3.) The EEOC claims that throughout the course of discovery, as it
has culled. the identities of claimants fron\ the data, it has
regularly supplemented its responses to AutoZone's interrogatories
and identified newly discovered claimants. (Id.)

There is no basis for granting AutoZone's motion to strike.
The EEOC's disclosure of the last 13 claimants did not violate any
deadline set by this court. The court never set a deadline for

disclosure of claimants by the EEOC, and the EEOC's disclosure was

 

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In its memorandum in support of its motion to strike and in its reply
brief, AutoZone does not state the legal standard for striking a claimant in a
job discrimination case brought by the EEOC, nor does AutoZone cite case law.

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before the close of discovery.
Based on the record before the court, the EEOC's disclosure on
May 18, 2005, did not violate Fed. R. Civ. P. 26(e) which provides:

A party who has made a disclosure ... or responded to a
request for discovery with a disclosure or response is
under a duty to supplement or correct the disclosure or
response to include information thereafter acquired if
ordered by the court or in the following circumstances:

(1) A party is under a duty to supplement at appropriate

intervals its disclosures ... if the party learns that in

some material respect the information disclosed is

incomplete or incorrect and if the additional or

corrective information has not otherwise been made known

to the other parties during the discovery process or in

writing....

(2) A party is under a duty seasonably to amend a prior

response to an interrogatory, request for production, or

request for admission if the party learns that the

response is in some material respect incomplete or

incorrect and if the additional or corrective information

has not otherwise been made known to the other parties

during the discovery process or in writing.
The EEOC claims that it complied with Rule 26(e) by regularly
supplementing its responses to AutoZone's interrogatories asking
for the identities of claimants as the EEOC located those claimants
in the voluminous, and at times flawed, data provided by AutoZone.
AutoZone has not provided any evidence showing that the EEOC could
have provided the identities of the 13 final claimants earlier than
May 18, 2005. Consequently, the EEOC's May 18, 2005, disclosure
complies with Rule 26(e).

The record before the court indicates that the prejudice

AutoZone will suffer by the “midnight” disclosure on May 18, 2005,

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is not great. According to the EEOC, the depositions that AutoZone
has taken of other similarly situated claimants have “averaged an
hour or less” and, in some cases, have been done telephonically.
(Pl.'s Resp. at 5.) The EEOC also claims that the parties have
deposed up to a dozen claimants in a single day. (Id.) Although the
court recognizes that deposing 13 additional claimants between May
18, 2005, and May 31, 2005, would have required adjustments by both
parties, it could have been done. In addition, the EEOC offered, in
its May 18, 2005 letter, to extend the discovery deadline to June
7, 2005, and to cooperate with AutoZone so that the additional 13
claimants could be timely deposed.2

The EEOC’s May 18, 2005, disclosure of 13 additional claimants
did not violate any' provision. of the Federal Rules of Civil
Procedure or any deadline set by this court. Although the
disclosure 13 days before the close of discovery' undoubtedly
inconvenienced AutoZone, it was not unduly prejudicial.
Consequently, there is no basis for striking the 13 additional

claimants.

 

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The court also notes that three weeks elapsed between the date AutoZone
received the letter disclosing the 13 additional claimants on May 18, 2005, and
the date that AutoZone filed its motion to strike, June 9, 2005.

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For the foregoing reasons, DEFENDANT'S motion to strike is

DENIED.

so 0RDERED this l°'n`day of July 2005.

SAMUEL H. MAYS, JR.
UNITED STATES DISTRICT JUDGE

 

 

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Honorable Samuel Mays
US DISTRICT COURT

